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                   AIN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY


   JEFFREY DEWAYNE CLARK and )
   GARR KEITH HARDIN,          )
                               )                    HON. JUSTIN R. WALKER
                   Plaintiffs, )
                               )                    MAG. COLIN H. LINDSAY
   v.                          )
                               )
   LOUISVILLE JEFFERSON        )                    Case No. 17-CV-419-JRW-CHL
   COUNTY METRO GOVT, et al.,  )
                               )
         Defendants.


                 MOTION FOR ADDITIONAL TIME TO CONDUCT
                     THE DEPOSITION OF MARK HANDY

        Plaintiffs, through their counsel, respectfully move the Court for an order

  allowing Plaintiffs additional time to take the deposition of Defendant Mark Handy

  pursuant to Rule 30(d)(1) of the Federal Rules of Civil Procedure. For one, had

  Plaintiffs’ cases not been consolidated, they would each be entitled to 7 hours to

  depose Handy—for a total of 14 hours. Moreover, as the most active detective,

  Handy played a central role in the investigation, arrest, and prosecution of both

  Plaintiffs. He is also the key witness in several other cases that are critical to

  Plaintiffs’ municipal liability claims against the City of Louisville, including the

  case in which he recently pled guilty to perjury. For these reasons, Plaintiffs need

  additional time to ensure Handy can be questioned on all relevant topics. Plaintiffs

  thus respectfully request the Court permit them to depose Handy over two days for

  a total of 14 hours.



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                                      Background

        Plaintiffs Garr Keith Hardin and Jeffrey Clark were wrongfully convicted in

  1995 of the murder of Rhonda Sue Warford—a crime they did not commit. (D.E. 38

  (Am. Compl.)). They spent twenty-two years of their life wrongfully incarcerated for

  that crime, until recent DNA testing conclusively demonstrated their innocence.

  (Am. Compl. ¶ 16). As the Court is aware, Mr. Hardin and Mr. Clark’s

  § 1983 lawsuit alleges that their wrongful convictions were the result of egregious

  misconduct by several actors—including, most notably, Mark Handy—as well as

  systemic failure in training, supervision, and discipline by the City of Louisville.

  (Am. Compl. ¶ 2.)

        Defendant Mark Handy was the most active investigator on the Warford

  murder for the Louisville Metropolitan Police Department (“LMPD”). As such, he

  was involved in nearly every critical step of the investigation: He was present for

  and conducted multiple interviews of Mr. Hardin and Mr. Clark; he was involved in

  the search of Mr. Clark’s car and in Mr. Clark’s arrest; and he conducted interviews

  with numerous third-party witnesses, including several key witnesses against Mr.

  Clark and Mr. Hardin. Critically, Plaintiffs have alleged that Handy committed

  numerous acts of misconduct throughout his investigation including fabricating

  that Mr. Hardin told him that he practiced Satanic animal sacrifice and wanted to

  move onto human sacrifice (Am. Compl. ¶¶ 7, 51–55), conspiring with other

  Defendants to develop the false theory that the murder had been a Satanic ritual

  killing (Am. Compl. ¶ 5), along with Defendant Joseph Greer, threatening Mr. Clark



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  with a pistol in an attempt to coerce a false confession from him (Am. Compl. ¶¶ 66–

  69), conspiring with other Defendants to manipulate the victim’s time of death after

  learning that Mr. Hardin and Mr. Clark had alibis for the timeframe they initially

  believed she had been killed (Am. Compl. ¶¶ 87–93), suppressing exculpatory

  evidence and intentionally failing to investigate Mr. Clark and Mr. Hardin’s alibis

  (Am. Compl. ¶¶ 51, 94–96), and fabricating inculpatory evidence—including by

  feeding non-public facts about the crime to third party witnesses (Am. Compl. ¶ 51).

        Plaintiffs have also alleged that Handy’s egregious misconduct in this case

  was not an isolated incident, but rather part of a long-standing and well-known

  pattern in the LMPD at the time of fabricating inculpatory evidence and destroying

  or concealing exculpatory evidence. (Am. Compl. ¶¶ 46-50, 113–15). Handy engaged

  in precisely the same misconduct alleged here in at least two other homicide cases—

  causing the wrongful convictions of Edwin Chandler and Keith West. (Am. Compl.

  ¶¶ 149–71). In Mr. Chandler’s case, as here, Handy fabricated a false inculpatory

  statement from an innocent suspect and also fed non-public facts to third-party

  witnesses. 1 Similarly, in Mr. West’s case, Handy suppressed exculpatory physical

  evidence and fed non-public facts to other witnesses.



  1  As the Court is aware, in 2018, Handy was indicted on one count of perjury in the
  first degree and one count of tampering with evidence in the Criminal Division of
  the Jefferson Circuit Court, based on his misconduct that lead to the wrongful
  conviction of Edwin Chandler and Keith West. See Def. Mark Handy’s Report on
  Status of Criminal Proceedings (D.E. 135). On June 2, 2020, Handy pled guilty to
  one count of perjury. His sentencing is currently scheduled for July 28, 2020. Id.
  Plaintiffs will also need to question Mr. Handy regarding these recent, highly
  relevant proceedings during his deposition.
         Additionally, although Handy has asserted that he would assert his Fifth
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        The details of Handy’s misconduct in these two cases (and other cases

  Plaintiffs may discover during their ongoing review of Handy’s old case files, which

  the City produced just last month) are central to Plaintiff’s municipal liability

  claims, as similar misconduct in at least three other homicide cases and caused the

  convictions of three other innocent men, Edwin Chandler, Keith West, and William

  Gregory. Id. ¶¶ 149-71. Plaintiffs have alleged that Handy’s practice of fabricating

  inculpatory evidence and concealing or destroying exculpatory evidence to convict

  innocent people was widely known to his supervisors and within the LMPD, and

  that LMPD acted with deliberate indifference to Handy’s routine, extreme

  misconduct and failed to train, supervise, discipline, or otherwise remediate

  Handy’s misconduct. (Am. Compl. ¶¶ 168-71).

        Because of Handy’s extensive and critical role in both this case and other

  relevant cases, Plaintiffs’ counsel anticipated the need for additional time with him

  and reached out to Handy’s counsel to request an additional seven-hour day of

  questioning. After Handy’s counsel indicated that he would not consent to any

  additional time, Plaintiffs informed all parties of their intention to seek more time

  from the Court, and this motion followed.

                                     Legal Standard

        Although Rule 30(d)(1) of the Federal Rules of Civil Procedure generally

  limits a deposition to a single day of 7 hours, the Rule on its face provides for



  Amendment rights at his deposition before his criminal prosecution concluded,
  Plaintiffs’ understanding is that, once Handy’s sentencing is completed, he will
  answer questions at his deposition.
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  extension beyond that presumptive limit “if needed to fairly examine the

  deponent[.]” Fed. R. Civ. P. 30(d)(1); accord Pogue v. NorthWestern Mut. Life Ins.

  Co., No. 3:14-CV-598-CRS, 2017 WL 3044763, at *11 (W.D. Ky. July 18, 2017).

  Indeed, under the Rule, courts “must allow additional time” if it is necessary for a

  fair examination of the witness. Fed. R. Civ. P. 30(d)(1) (emphasis added). “Thus,

  the Court has an obligation to permit additional time, if the circumstances require

  that a fair examination of the deponent run longer.” MRP Prop., LLC v. United

  States, No. 17-cv-11174, 2020 WL 1640161, at *2 (E.D. Mich. Apr. 2, 2020); see also

  Fed. R. Civ. P. 30 Ad. Comm’s Notes, 2000 Amendments (additional time to be

  granted on a showing of “good cause”).

        In assessing whether there is good cause to grant additional time, the

  Advisory Committee’s Notes to Rule 30 set out a “variety of factors” that courts are

  to consider including whether “the examination will cover events occurring over a

  long period of time,” and, “[i]n multi-party cases, the need for each party to examine

  the witness.” Fed. R. Civ. P. 30 Ad. Comm’s Notes, 2000 Amendments. These factors

  are not exclusive; rather, the Rule “broadly requires the Court to allow additional

  time ‘if needed to fairly examine the deponent[.]’” Indianapolis Airport Auth. v.

  Travelers Prop. Cas. Co. of Am., No. 1:13-CV-01316-JMS, 2015 WL 4458903, at *3

  (S.D. Ind. July 21, 2015) (quoting Fed. R. Civ. P. 30(d)(1)); accord Blackmon v. Bd.

  of Cnty. Com’rs of Sedgwick Cnty., Kan., 2011 WL 663195 (D. Kan. 2011).




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                                        Argument

        Plaintiffs have amply met the good cause standard for additional time here

  for several reasons. First and foremost, there are two Plaintiffs in this case—Garr

  Keith Hardin and Jeffrey Clark. As the Advisory Committee’s Notes to Rule 30

  describe, “[i]n multi-party cases, the need for each party to examine the witness

  may warrant additional time[.]” Id. Just so here: although the cases have been

  consolidated in the interests of efficiency and judicial economy (see D.E. 31, 34),

  Plaintiffs’ cases are prosecuted by separate counsel and include some overlapping

  and some distinct claims. Had the cases not been consolidated, each Plaintiff would

  be entitled to question Handy for 7 hours, or 14 hours total. See Fed. R. Civ. P.

  30(d)(1). Courts have consistently permitted additional time in these circumstances,

  as instructed by the Advisory Committee Notes. See, e.g., McBride v. Medicalodges,

  Inc., No. 06-cv-2535, 2008 WL 1774674, at *2 (D. Kan. Apr. 16, 2008) (“Plaintiffs

  have good reason for additional time to question [the witness]. They correctly point

  out that, had their cases not been consolidated, each plaintiff would presumably

  have been able to depose [the witness] for seven hours.”); Marshall v. GE Marshall,

  Inc., No. 09-cv-198, 2012 WL 405714, at *1 (N.D. Ind. Feb. 8, 2012) (“Each

  defendant is entitled to depose the plaintiff on each of the claims and the numerous

  documents. Although defense counsel must avoid duplicative questioning, the issues

  and discovery are voluminous enough to warrant additional time.”).

        Second, more time is necessary given Handy’s central role in both the

  underlying investigation in this case and in several other cases critical to Plaintiffs’



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  municipal liability claims. In this investigation alone, Handy committed or

  participated in nearly every allegation of misconduct over the course of many

  years—from the Warford murder in April 1992 to Plaintiffs’ wrongful convictions in

  March 1995 and throughout their post-conviction proceedings until their

  exoneration in 2018. Courts routinely grant additional time for the examination of

  such critical witnesses. See, e.g., Dow Chem. Co. v. Reinhard, No. 07-cv-12012, 2008

  WL 1735295, at *4 (E.D. Mich. Apr. 14, 2008) (granting an “additional single day of

  seven hours” based on the witness’s “central role in the events giving rise to [the]

  claims”); Valley Forge Ins. Co. v. Hartford Iron & Metal, Inc., No. 14-cv-0006, 2016

  WL 11033846, at *3 (N.D. Ind. Nov. 4, 2016) (granting additional time because the

  witness was “[a]t the heart of the…issues in this case, as her role spanned four

  years..., her name is included in a plethora of documents and communications, and

  this is a complex case….); McBride, 2008 WL 1774674, at *2 (finding good cause for

  additional time as witness “appears to be a key player, directly involved in the

  claims of all three Plaintiffs”); Lassiter v. Hidalgo Med. Servs., No. 17-cv-0850, 2018

  WL 3377707, at *2 (D. N.M. July 11, 2018) (finding good cause to extend deposition

  of “principal witness”).

        Tellingly, only one other witness in this case had involvement remotely

  comparable to Handy’s in the underlying investigation—Defendant Joseph Greer—

  and after one day of deposition the parties reached an agreement to permit him to

  be deposed for an additional 3 hours on a separate day. See Fed. R. Civ. P. 30 Ad.

  Comm’s Notes, 2000 Amendments (noting that “[i]t is expected that in most



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  instances the parties and the witness will make reasonable accommodations to

  avoid the need for resort to the court” and that “preoccupation with timing is to be

  avoided”). Although there is far more reason that more time is necessary with

  Handy, as Greer had no involvement whatsoever in other cases relevant to

  Plaintiffs’ municipal liability claims, Handy’s counsel has refused to consent to any

  additional time for his deposition.

        By comparison, Handy is a critical witness in at least two other cases—

  Chandler and West—which reveal a pattern of the same misconduct by Handy and

  deliberate indifference by his same supervisors. 2 These additional cases are also

  complex and involve many thousands of pages of documents, many of which will

  need to be made into exhibits and shown to Handy during the course of his

  deposition. This line of questioning is essential to Plaintiffs’ municipal liability

  claims but will necessarily require substantial time with Handy. Indeed, Plaintiffs

  must be able to explore not only Handy’s involvement in the initial investigation

  and prosecution in those cases (which spanned from 1992 to 1997) but also his

  testimony and representations in post-conviction proceedings to date, including his

  current criminal prosecution for perjury in the Chandler case.




  2 Moreover, Plaintiffs recently received from Defendants over 60,000 pages of
  additional homicide files that Handy worked on as a detective. Plaintiffs’ review of
  those files may uncover additional cases in which Handy engaged in the same
  pattern of misconduct by fabricating inculpatory evidence and/or concealing and
  destroying exculpatory evidence to secure convictions. If so, Plaintiffs will need to
  devote yet more time to questioning Handy about those cases.
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         As recognized by the Advisory Committee, Handy is precisely the sort of

  witness for whom additional time should be granted. See Fed. R. Civ. P. 30 Ad.

  Comm’s Notes, 2000 Amendments (“If the examination will cover events occurring

  over a long period of time, that may justify allowing additional time.”); see also

  Indianapolis Airport Auth., No. 1:13-CV-01316-JMS, 2015 WL 4458903, at *4 (S.D.

  Ind. July 21, 2015) (holding that “testimony included events...spanning several

  years…indisputably…weighs in favor of extending the deposition”); accord Waste

  Mgmt. of Louisiana, LLC v. River Birch, Inc., No. CV 11-2405, 2017 WL 2256888, at

  *2 (E.D. La. May 23, 2017).

        Nor is Handy’s centrality limited to his own misconduct. Plaintiffs have

  alleged that, in addition to committing misconduct himself, Handy worked closely

  with the other individual Defendants in this case—including but not limited to

  Joseph Greer, James Griffiths, Charles Edelen, and Jim Woosley—to wrongfully

  prosecute and convict Mr. Hardin and Mr. Clark. (Amend. Compl. ¶¶ 62, 64, 69, 70,

  113-115). Therefore, Plaintiffs will need to question Handy about not only his own

  involvement, but also his interactions with the other Defendants in this case—in

  particular his supervisors (who also supervised him in the Chandler and West

  cases). Given the broad scope of the misconduct, the many people involved, and the

  long timeline over which this misconduct occurred, Plaintiffs cannot adequately

  question Mr. Handy on these topics within the usual 7 hours. See Indianapolis

  Airport Auth., 2015 WL 4458903, at *4 (holding that that where a deponent is “a




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  central witness to the case and his testimony will involve a large volume of

  documentary evidence,” that favors granting additional time for a deposition).

        In sum, because there are two Plaintiffs in this action, and in light of the

  complexity and long timeframe of Handy’s misconduct in this case, the centrality of

  Handy to Plaintiffs’ allegations, and the complexity and scope of the municipal

  liability allegations about which Plaintiffs will need to question Handy, Plaintiffs

  cannot complete Handy’s deposition within the ordinary 7 hours. Plaintiffs have

  therefore amply met the good cause standard to grant additional time to question

  Handy. See Fed. R. Civ. P. 30 Ad. Comm’s Notes, 2000 Amendments. Plaintiffs seek

  only an additional seven-hour day or 14 hours total—no more than Plaintiffs would

  have had if their cases had not been consolidated.

                                       Conclusion

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant

  Plaintiffs a total of 14 hours over two days to depose Defendant Mark Handy.



  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

         I, Kate Fetrow, hereby certify that on July 15, 2020, I filed the
  foregoing motion via the Court’s CM/ECF System and thereby served a copy on all
  counsel of record.

                                 /s/Kate Fetrow
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